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                          IN THE UNITED STATES DISTRICT COURT,
                              FOR THE DISTRICT OF WYOMING

RUDOLF DEHAAN,                                              )
                                                            )
        Plaintiff,                                          )
vs.                                                         )        Case No. 07-CV-257-J
                                                            )
PERRY ROCKVAM, et al.                                       )
                                                            )
        Defendants.                                         )

           INDIVIDUAL DEFENDANTS’ MEMORANDUM IN SUPPORT OF
                     MOTION FOR SUMMARY JUDGMENT

        COME NOW, Defendants Perry Rockvam, Scott Steward and Torin Chambers in their

Individual Capacities for 42 U.S.C. § 1983 claims and for state law claims, by and through

the Office of the Attorney General of the State of Wyoming, and respectfully submit this

Memorandum in Support of their Motion for Summary Judgment.
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                           I. STATEMENT OF THE FACTS

       Rudolf Dehaan (Dehaan) filed his Complaint for Damages on October 16, 2007,

claiming Cody Police Officer Torin Chambers subjected him to excessive force while

handcuffing Dehaan during his arrest on October 29, 2004, and caused injury which violated

Dehaan’s Fourth Amendment Rights. (Plaintiff’s Complaint ¶¶ 13-15 and Count I ¶ 2).

Dehaan further claims that he was denied medical treatment for the injury while he was

detained in the Park County Detention Center after his arrest in violation of his 8th

Amendment rights. (Plaintiff’s Complaint, Count III ¶ 3). In addition, Plaintiff alleges that

Chief Rockvam and Sheriff Steward violated his constitutional rights when they failed to

“instruct, supervise, control, and discipline” Officer Chambers, the Park County Sheriff’s

Office and Detention Center. (Plaintiff’s Complaint, Count II, ¶ 3 and Count IV, ¶ 3).

Plaintiff finally asserts state law claims for negligent hiring and battery. (Plaintiff’s

Complaint Count V and VI).

       On October 12, 2004, The Plaintiff was involved in an accident on an oil rig during

work and injured his right arm. (Exhibit A - Deposition of Rudolf Dehaan, at 44-45, 74).

The Plaintiff’s arm was placed in a cast on the same day as the injury. (Id., at 45-46).




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         On October 29, 2004, Officer Torin Chambers provided information regarding an

investigation to the Park County Attorney which resulted in a warrant being issued for the

Plaintiff’s arrest. (Exhibit B - Affidavit of Torin Chambers ¶ 5; Exhibit C - Affidavit of Perry

Rockvam ¶ 3 and Attachment 1 - Incident Report and Arresting Documents). Torin

Chambers left duty on that day at 4:07 p.m. (Ex. C - Rockvam Aff., ¶ 10 and Attachment 2 -

CPD Schedule for Officer Chambers; Ex. B - Chambers Aff., ¶ 10). At 8:26 p.m. that

evening, the warrant was executed and the Plaintiff was arrested by Officer Jason Stafford.

(Ex. C - Rockvam Aff., ¶ 4 and Attachment 1). Officer Stafford was assisted by Officers

Richard and Beck. (Ex. C - Rockvam Aff., ¶ 5). The Plaintiff was transported by Officer

Richard and booked into the Park County Detention Center at 8:40 p.m. (Ex. C - Rockvam

Aff., ¶ 7). Torin Chambers did not return to duty again until 5:54 a.m. the next morning,

October 30, 2004. (Ex. C - Rockvam Aff., ¶ 10 and Attachment 2; Ex. B - Chambers Aff.,

¶ 10).

         The Plaintiff was transferred to Big Horn County Jail on November 3, 2004, and

completed his sentence on November 7, 2004. (Ex. A - Dehaan Depo., at 99 and deposition

exhibit C).




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                             II.   STANDARD OF REVIEW

       In Chickasaw Nation v. United States, 208 F.3d 871, 874-75 (10th Cir. 2000), the

Tenth Circuit set the following standard with respect to motions for summary judgment:

              Summary judgment is appropriate where no genuine issue of
              material fact exists and the moving party is entitled to judgment
              as a matter of law. Fed. R. Civ. P. 56(c). When reviewing a
              grant of summary judgment, we view the evidence and draw
              reasonable inferences therefrom in the light most favorable to
              the non-moving party. Semins v. Oklahoma ex rel. Dept. of
              Mental Health & Substance Abuse Servs., 165 F. 3rd 1321, 1326
              (10th Cir.) cert. denied, 528 U.S. 815,120 S. Ct. 53, 145, L. Ed.
              2nd 46 (1999).

              See also Chambers v. Colorado Dept. of Corrections, 205 F.3d
              1237, 1241 (10th Cir. 2000). “Summary Judgment is then
              appropriate if, after reviewing all the evidence submitted in the
              light most favorable to the non-movant, no genuine issue of
              material fact services to merit a trial.” citing UMLIC-Nine Corp.
              v. Lipan Springs Development Corp., 168 F.3d 1173, 1176 (10th
              Cir. 1999).

                                     III. ARGUMENT

A.     The record does not demonstrate any personal participation in any alleged
       violations of Mr. Dehaan’s constitutional rights by Chief Rockvam, Sheriff
       Steward or Officer Torin Chambers and, therefore, a § 1983 claim against them
       in their individual capacities cannot survive.

       To prevail on a claim for damages for a constitutional violation pursuant to 42 U.S.C.

§ 1983, Mr. Dehaan must establish not only that the defendants acted under color of state law

but also caused or contributed to the alleged violation. Jenkins v. Wood, 81 F.3d 988, 995-6


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(10th Cir. 1996). See also Ruark v. Solano, 928 F.2d 947, 950 (10th Cir. 1991); Snell v.

Tunnell, 920 F.2d 673, 700 (10th Cir. 1990); and Bennett v. Passic, 545 F.2d 1260, 1262-63

(10th Cir. 1976). “Individual liability under § 1983 must be based on personal participation

in the constitutional violation.” Foote v. Spiegel, 118 F.3d 1416, 1423 (10th Cir. 1997).

       Under Section 1983, government officials are not vicariously liable for the misconduct

of subordinates. Serna v. Colorado Department of Corrections, 455 F.3d 1146, 1151 (10th

Cir. 2006). To establish a Section 1983 claim against a supervisor in his individual capacity

for the acts of his subordinates, the Plaintiff must first show that the subordinates violated

the constitution. Id. Then, the Plaintiff must show “a deliberate, intentional act by the

supervisor to violate constitutional rights.” Woodward v. City of Worland, 977 F.2d 1392,

1399 (10th Cir. 1992)(citing City of Canton, 489 U.S. 378, 389).

       Dehaan must either show that each defendant personally participated in the alleged

violation, or each defendant had the opportunity to intervene in the alleged violation against

Dehaan and failed to do so. Wise v. Bravo, 666 F.2d 1328, 1333 (10th Cir. 1981); Lusby v.

T.G. & Y. Stores, Inc., 749 F.2d 1423, 1433 (10th Cir. 1984). Specifically for supervisory

liability, Dehaan must show that Chief Rockvam and Sheriff Steward personally directed the

violations or had actual knowledge of the violations and acquiesced in its continuance. Id.

at 1400.




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       1.     Officer Torin Chambers.

       Mr. Dehaan’s Complaint specifically alleges that Officer Chambers is the officer who

arrested him and forced his arms behind his back to handcuff him on October 29, 2004.

(Plaintiff’s Complaint, ¶22.) However, the record clearly shows that Officer Chambers was

not on duty the night of October 29, 2004, and did not participate in the arrest of Dehaan.

(Ex. C - Rockvam Aff., ¶ 8; Ex. B- Chambers Aff., ¶ 11). The Plaintiff concedes that Officer

Chambers may not have been present or involved in his arrest that evening. (Ex. A - Dehaan

Depo., at 53-54). Because Officer Chambers was not present during the arrest and

handcuffing of Dehaan, he could not have personally participated in the alleged

constitutional violation. Summary judgment is appropriate in favor of Officer Chambers for

the § 1983 claims against him in his individual capacity.

       2.     Chief Rockvam

       Perry Rockvam was the Chief of Police of Cody and the commanding officer of the

Police Department at the time of Dehaan’s arrest on October 29, 2004. Dehaan alleges that

Chief Rockvam “failed to instruct, supervise, control, and discipline [Officer Chambers] on

a continuing basis” depriving him of his constitutional rights. (Plaintiff’s Complaint Count

II, ¶ 3). The only actions of Chief Rockvam of which the Plaintiff complains are in his role

as a supervisor over Torin Chambers. (Count II, ¶¶ 1-8 of Plaintiff’s Complaint).




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       As stated above, Torin Chambers was not present during the arrest of Dehaan and

could not have caused the injuries of which Dehaan complains. Because Torin Chambers

did not violate Dehaan’s constitutional rights, the first requirement in holding Chief

Rockvam individually liable fails. Further, the record is devoid of allegations or information

to show Chief Rockvam personally directed or had knowledge of the arrest of Dehaan on the

evening of October 29, 2004. The Plaintiff concedes that he has no knowledge of Chief

Rockvam’s personal involvement in his arrest. (Dehaan Depo., at 115-116 ). Summary

judgment in favor of Chief Rockvam for the § 1983 claims against him in his individual

capacity is appropriate.

       3.     Sheriff Steward

       Scott Steward was the Sheriff of Park County and commanding officer of the Park

County Detention Center (PCDC) during the time of Dehaan’s incarceration in October and

November 2004. Dehaan claims that Sheriff Steward “failed to instruct, supervise, control,

and discipline [the Park County Sheriff’s Department and Detention Center] on a continuing

basis” depriving him of his constitutional rights. (Plaintiff’s Complaint Count IV, ¶ 3).

Again, the only allegations made against Sheriff Steward are in his role as a supervisor over

the Sheriff’s Office and Detention Center.




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       The record is devoid of allegations or facts revealing that Sheriff Steward had

knowledge that Dehaan allegedly requested medical care or was incarcerated during the time

period. The Plaintiff concedes that he has no knowledge of Sheriff Steward’s personal

involvement in his alleged denial of medical care. (Dehaan Depo., at 116). Without facts

showing Sheriff Steward directed the alleged denial of medical care or had knowledge of it

happening, summary judgment is appropriate in favor of Sheriff Steward for the § 1983

claims against him in his individual capacity.

B.     Immunity has not been waived for Plaintiff’s State Law Claims, therefore, no
       cause of action exists against the Defendants for Negligent Hiring or Battery

       The Wyoming Governmental Claims Act (WGCA), WYO. STAT. § 1-39-101, et seq.,

waives sovereign or governmental immunity, but only for certain enumerated torts. Harbel

v. Wintermute, 883 P.2d 359, 363 (Wyo. 1994); Veile v. Board of County Com'rs of

Washakie County, 860 P.2d 1174, 1177 (Wyo. 1993). Under the WGCA, immunity is the

rule and liability has to be established by an exception. Vigil v. Ruettgers, 887 P.2d 521, 524

(Wyo. 1994); Hurst v. State, 698 P.2d 1130, 1132 (Wyo. 1985). The WGCA, as a statute

that abrogates common law, must be strictly construed. Weston County Hosp. Joint Powers

Bd. v. Westates Const. Co., 841 P.2d 841, 847 (Wyo. 1992).                   “In interpreting the

Governmental Claims Act, this court must strictly construe the statutory exceptions to




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immunity against potential claimants and, conversely, liberally construe the grant of

immunity in favor of the governmental entity.” Martinez v. City of Cheyenne, 791 P.2d 949,

956 (Wyo.1990); WYO. STAT. ANN. §1-1-101 (1988).

       Under the WGCA, governmental entities, including local governments, and public

employees acting within the scope of their duties are generally immune from liability for the

torts they commit. WYO. STAT. ANN. § 1-39- 104(a). Certain specifically identified actions

are exceptions to the general immunity rule. WYO. STAT. ANN. §§ 1-39-105 to 1-39-112.

Plaintiff’s claims for negligent hiring and battery are not exceptions set forth in the WGCA.

Officer Chambers, Sheriff Steward and Chief Rockvam are entitled to immunity for all of

Plaintiff’s state law claims under the WGCA as the exceptions are to be strictly construed.

Martinez, 791 P.2d at 956; WYO. STAT. ANN. §1-1-101 (1988).               Summary judgment is

appropriate in favor of the Defendants on all of Plaintiffs state law claims.

C.     Plaintiff’s cause of action for battery is barred by the statute of limitations.

       The Plaintiff claims a cause of action for assault and battery against Officer Chambers

for the injuries he received during his arrest.          Even assuming the WGCA waived

governmental immunity for battery, the statute of limitations for bringing a cause of action

for civil battery is one year. WYO. STAT. § 1-3-105(a)(v)(B). It is true that the WGCA




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encompasses a two year notice requirement and then a one year statute of limitations for

filing a claim after the notice is served. WYO. STAT. § 1-39-101, et. seq. However, the

requirements set out in the WGCA do not extend the statute of limitations set out in WYO.

STAT. § 1-3-105.

       WYO. STAT. § 1-39-114 sets out the statute of limitations for the WGCA and

specifically provides that, “[i]n no case shall the statute of limitations provided in this section

be longer than any other applicable statute of limitations.” The statute of limitations

provided in the WGCA is further limited by the first four words of the section, “[e]xcept as

otherwise provided.” Id. For civil battery claims, WYO. STAT. § 1-3-105 specifically

provides otherwise and dictates that the statute of limitations period for bringing a civil

battery action is one year.

       The Plaintiff claims he was injured by Officer Chambers on October 29, 2004, and

filed his complaint on October 16, 2007. Because the Plaintiff failed to bring his cause of

action by October 29, 2005, his claim for civil battery is barred and dismissal of the battery

claim against Officer Chambers is appropriate.




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D.     Conclusion

       For the foregoing reasons, no genuine issue of material fact exists and summary

judgment is appropriate in favor of Sheriff Steward, Chief Rockvam and Torin Chambers for

the state law claims made against them and for the federal law claims made against them in

their individual capacities.

       DATED this 16th day of June, 2008.


                                              /s/ Christine Cox
                                              Christine Cox
                                              Senior Assistant Attorney General

                               CERTIFICATE OF SERVICE

       I hereby certify that on this on 16th day of June, 2008, a true and correct copy of the
foregoing was electronically filed and will be served by same upon the following individuals:

       Nicholas H. Carter                            Richard Rideout
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                                              /s/ Christine Cox
                                              Christine Cox




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